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f.`,'
i/LED 3)/
IN THE UNITED STATES DISTRICT COURT \` D`i:

FOR THE WESTERN DISTRICT OF TENNESSEE OSHAY

EASTERN DIVISION C§$TF;SW:H 2: 4 7
JERRED wASHINGToN, Wb' §Fpr\d§qgf§ZL/ég
Plainriff,
v. No. 03-1237-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

+”.L
IT IS SO ORDERED this l 2 day of May, 2005.

 

. DANIEL BREEN \
ITE STATES DISTRICT JUDGE

 

F TENNESSEE

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 32 in
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Honorable J. Breen
US DISTRICT COURT

